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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §           CASE NO. 2:05-CR-3(18)
                                                  §
 ALVIN BERNARD ALLEN                              §


                                    MEMORANDUM ORDER

        The court referred a petition, alleging violation of supervised release conditions, to United

 States Magistrate Judge Chad Everingham in Marshall, Texas for consideration pursuant to applicable

 laws and orders of this court. The court has received and considered the Report of the United States

 Magistrate Judge filed pursuant to such order, along with the record, pleadings, and all available

 evidence.

        At the close of the September 23, 2010 revocation hearing, defendant, defense counsel and

 counsel for the government signed a standard form waiving their right to object to the proposed

 findings and recommendations contained in the United States Magistrate Judge’s report, consenting

 to revocation of supervised release and to the imposition of the above sentence recommended in the

 report. Defendant also waived his right to be present and speak before the District Judge imposes the

 recommended sentence. The government did not file any objections. Therefore, the Court may act

 on the Report immediately.

        Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are correct

 and his report is ADOPTED. It is therefore

        ORDERED that the defendant’s plea of true to the second allegation as set forth in the

 government’s petition be ACCEPTED. Based upon the defendant’s plea of true to the allegation, the


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 court finds that the defendant violated the conditions of his supervised release. It is further

        ORDERED that the defendant’s supervised release be REVOKED. Judgment and

 commitment will be entered separately, in accordance with the Magistrate Judge’s report. It is further

        ORDERED that the defendant be committed to the custody of the Bureau of Prisons to be

 imprisoned for a term of 27 months, with no term of supervised release to follow such term of

 imprisonment.

         SIGNED this 18th day of October, 2010.



                                                __________________________________________
                                                T. JOHN WARD
                                                UNITED STATES DISTRICT JUDGE




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